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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO. -

 

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
Plaintiff, ) i ; i 0
)
v. ) CASENO.
) Title 18, United States Code,
DEANDRE ALLEN, ) Sections 922(0)(1), 924(a)(2),
) and 924(c)(1)(B)(ii); Title 21,
Defendant. ) United States Code, Sections
) 841(a)(1) and (b)(1)(C)

(Unlawful Possession of a Machine Gun, 18 U.S.C. §§ 922(0)(1) and 924(a)(2))
The Grand Jury charges:

1. On or about the March 19, 2019, in the Northern District of Ohio, Defendant
DEANDRE ALLEN did knowingly possess a machinegun, that is, a fully automatic Glock 22
.40 caliber pistol, serial number LGP644, in violation of Title 18, United States Code, Sections
922(0) and 924(a)(2).

COUNT 2
(Possession with Intent to Distribute Heroin, Fentanyl, and Hydrocodone, 21 U.S.C. §§ 841 (a)(1)

and (b)(1)(C))
The Grand Jury further charges:

2. On or about March 19, 2019, in the Northern District of Ohio, Eastern Division,
Defendant DEANDRE ALLEN did knowingly and intentionally possess with the intent to
distribute detectable amount of fentanyl, a Schedule II controlled substance; acetylfentanyl, a
Schedule [ controlled substance; and hydrocodone, a Schedule IT controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).
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COUNT 3
(Possession with Intent to Distribute Heroin, Acetylfentanyl, and Fentanyl, 21 U.S.C. §§
841(a)(1) and (b)(1)(C))
The Grand Jury further charges:

3. On or about March 19, 2019, in the Northern District of Ohio, Eastern Division,
Defendant DEANDRE ALLEN did knowingly and intentionally possess with the intent to
distribute a detectable amount of heroin, a Schedule I controlled substance; acetylfentanyl, a
Schedule I controlled substance; and fentanyl, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 4
(Possession with Intent to Distribute Cocaine Base, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:

4, On or about March 19, 2019, in the Northern District of Ohio, Eastern Division,
Defendant DEANDRE ALLEN did knowingly and intentionally possess with the intent to
distribute a detectable amount of cocaine base, a Schedule II controlled substance, in violation of
Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 5
(Possession with Intent to Distribute Heroin, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:

5. On or about March 19,2019, in the Northern District of Ohio, Eastern Division,
Defendant DEANDRE ALLEN did knowingly and intentionally possess with the intent to
distribute a detectable amount of heroin, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(1) and (b)(1)(C).
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COUNT 6
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime, 18 U.S.C. §

924(c)(1)(B)(ii))
The Grand Jury further charges:

6. On or about the March 19, 2019, in the Northern District of Ohio, Defendant
DEANDRE ALLEN possessed a firearm, that is a fully automatic Glock 22 .40 pistol, serial
number LGP644, in furtherance of a drug trafficking crime, to wit: Possession With Intent to
Distribute heroin, fentanyl, hydrocodone, acetylfentanyl, and cocaine base, in violation of Title
21, United States Code, Sections 21 U.S.C. 841(a)(1) and (b)(1)(C), as charged in counts 2, 3, 4,
and 5 of this indictment, in violation of Title 18, United States Code, Section 924(c)(1)(B)(i1).

FORFEITURE
The Grand Jury further charges:

7. For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853; Title 18, United States Code, Section 924(d)(1); and Title 28, United States Code
Section 2461(c), the allegations of Counts 1 through 6 are incorporated herein by reference. As a
result of the foregoing offenses, Defendant DEANDRE ALLEN shall forfeit to the United States
any and all property constituting or derived from any proceeds he obtained directly or indirectly
as a result of such violations; any and all of his property used or intended to be used in any
manner or part to commit or to facilitate the commission of such violations; and, any and all

firearms and ammunition involved in or used in the commission of such violations.

A TRUE BILL.
Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
